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                          EXHIBIT 19
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                                                                    Page 1

   1                            UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
   2                                 ALEXANDRIA DIVISION
   3
                      __________________________
   4                                            :
                      UNITED STATES OF AMERICA, :
   5                  et al.,                    :
                                                :
   6                         Plaintiffs         :
                                                :
   7                      v.                    : No.         1:23-cv-00108
                                                :
   8                  GOOGLE, LLC,               :
                                                :
   9                         Defendants.        :
                      __________________________:
 10
 11                                 Friday, August 18, 2023
 12
                              Video Deposition of COL. JOHN HORNING,
 13
                      taken at the Law Offices of Paul, Weiss,
 14
                      Rifkind, Wharton & Garrison LLP, 2001 K St NW,
 15
                      Washington, DC, beginning at 9:34 a.m. Eastern
 16
                      Standard Time, before Ryan K. Black, Registered
 17
                      Professional Reporter, Certified Livenote
 18
                      Reporter and Notary Public in and for the
 19
                      District of Columbia
 20
 21
 22
 23
 24
 25        Job No. CS6060378

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                                                                   Page 2                                                            Page 4
       1   A P P E A R A N C E S:
                                                                              1          THE VIDEOGRAPHER: Good morning.
       2
       3   UNITED STATES DEPARTMENT OF JUSTICE                                2   We're going on the record at 9:34 on August 18th,
           ANTITRUST DIVISION
       4   BY: JIMMY MCBIRNEY, ESQ.
                                                                              3   2023. Please note that the microphones are
              CHASE PRITCHETT, ESQ.                                           4   sensitive and may pick up whispering and private
       5      ALVIN CHU, ESQ.
              MARK SOSNOWSKY, ESQ. - Via Zoom
                                                                              5   conversations. Please mute your phones at this
       6      KATHERINE CLEMONS, ESQ - Via Zoom                               6   time. Audio and video recording will continue to
           450 5th Street, N.W
       7   Washington, DC 20530
                                                                              7   take place unless all parties agree to go
           202.514.2414                                                       8   off the record.
       8   jimmy.mcbirney@usdoj.gov
           chase.pritchett@usdoj.gov                                          9          This is Media Unit 1 of the
       9   alvin.chu@usdoj.gov                                               10   video-recorded deposition of Colonel John Horning
           mark.sosnowsky@usdoj.gov
      10   katherine.clemons@usdoj.gov                                       11   in the matter of United States, et al., v. Google
      11   Representing - The United States of America                       12   LLC. The location of the deposition is Paul
      12
      13   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,                     13   Weiss.
           BY: MARTHA L. GOODMAN, ESQ.                                       14          My name is Glenn Fortner, representing
      14      LEAH HIBBLER, ESQ.
           2001 K St NW,                                                     15   Veritext, and I'm the videographer. The court
      15   Washington, DC                                                    16   reporter is Ryan Black from the firm Veritext.
           202.223.7341
      16   mgoodman@paulweiss.com                                            17   I'm not related to any party in this action, nor
           lhibbler@paulweiss.com                                            18   am I financially interested in the outcome.
      17
           Representing - Google LLC                                         19          If there are any objections to
      18                                                                     20   proceeding, please state them at the time of your
      19
      20                                                                     21   appearance. Counsel and all present, including
      21                                                                     22   remotely, will now state their appearances and
      22
      23   ALSO PRESENT:                                                     23   affiliations for the record beginning with the
      24   Glenn Fortner - Legal Videographer
                                                                             24   noticing attorney.
           Major Mohamed Al-Darsani - United States Army
      25   Edwin Farley - USDOJ Intern                                       25          MS. GOODMAN: Martha Goodman, from the
                                                                    Page 3                                                           Page 5
       1                 INDEX                                                1   law firm Paul Weiss, on behalf of Google LLC.
       2    TESTIMONY OF: COL. JOHN HORNING                        PAGE       2   I'm joined by my colleague Leah Hibbler.
       3    By Ms. Goodman.............................6, 244
                                                                              3        MR. MCBIRNEY: Jimmy McBirney, with the
       4    By Mr. McBirney...............................245
                                                                              4   Unites Staes Department of Justice, on behalf of
       5               EXHIBITS
       6    EXHIBIT          DESCRIPTION                      PAGE            5   the United States and the witness.
       7    Exhibit 61 a privilege log dated June 26th,                       6        MR. PRITCHETT: Chase Pritchett, on
                     2023, provided by the United                             7   behalf of the United States.
       8             States DOJ.......................11                      8        MR. CHU: Alvin Chu on behalf of the
       9    Exhibit 62 a document Bates Numbered
                                                                              9   United States.
                     ARMY-ADS336340 through 336638...154
                                                                             10        MR. SOSNOWSKY: Mark Sosnowsky on behalf
      10
            Exhibit 63 a document Bates Numbered                             11   of the United States.
      11             ARMY-ADS329948 through 329970...165                     12        MAJOR AL-DARSANI: Moe Al-Darsani,
      12    Exhibit 64 a document Bates Numbered                             13   United States Army.
                     ARMY-ADS187047 through 187077...211                     14        MR. FARLEY: Edwin Farley, United
      13
                                                                             15   States.
      14
                                                                             16        THE VIDEOGRAPHER: Okay. Will the court
      15
      16                                                                     17   reporter please swear in the witness and then
      17                                                                     18   counsel may proceed.
      18                                                                     19        MR. CHU: Oh, also, just to let you
      19                                                                     20   know, I have Katherine Clemons -- she'll be --
      20                                                                     21   from the DOJ that will also joining in and out.
      21
                                                                             22              *     *   *
      22
      23                                                                     23   Whereupon --
      24                                                                     24             COL. JOHN HORNING,
      25                                                                     25   called to testify, having been first duly sworn

                                                                                                                            2 (Pages 2 - 5)

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                                                         Page 6                                                      Page 8
       1    or affirmed, was examined and testified as             1   that.
       2    follows:                                               2      Q. Have you ever requested legal advice
       3                 * * *                                     3   from the Department of Justice Antitrust
       4                  EXAMINATION                              4   Division?
       5    BY MS. GOODMAN:                                        5         MR. MCBIRNEY: Objection. Calls for
       6       Q. Good morning, Colonel Horning.                   6   privileged information. Instruct the witness not
       7       A. Good morning.                                    7   to answer.
       8       Q. Have you been deposed before?                    8         MS. GOODMAN: You're asking him -- the
       9       A. I have not.                                      9   information that would appear on a privilege log
      10       Q. Do you understand your purpose here             10   with a request for legal advice that's required
      11    today is to provide truthful and accurate             11   for you as the privilege -- the party asserting a
      12    testimony to the best of your testimony and           12   privilege to establish the proprietary of the
      13    knowledge?                                            13   privilege and meet your burden of proof and
      14       A. I do.                                           14   persuasion that the privilege applies, you're
      15       Q. Is there any reason you cannot do that          15   instructing him not to answer that question?
      16    today?                                                16         MR. MCBIRNEY: You are asking the
      17       A. No.                                             17   witness whether he has requested legal advice
      18       Q. Okay. Because the court reporter is             18   from the Department of Justice Antitrust
      19    writing everything down, it's important that we       19   Division?
      20    not talk over one another, so please let me           20         MS. GOODMAN: Yeah.
      21    finish my question before you begin your answer.      21         MR. MCBIRNEY: You can answer that yes
      22    Okay?                                                 22   or no.
      23       A. Okay.                                           23         THE WITNESS: No.
      24       Q. And because he's again taking a written         24   BY MS. GOODMAN:
      25    transcript, the -- you have to speak verbally as      25      Q. To what extent has anybody at the
                                                         Page 7                                                      Page 9
       1    opposed to with sounds like uh-huh or huh-uh      1        Department of Justice ever asked you to provide
       2    so that it can be accurately reflected in the     2        information about the Army's advertising
       3    transcript. Okay?                                 3        business?
       4       A. I understand.                               4              MR. MCBIRNEY: Objection. Privileged.
       5       Q. If you don't understand my question,        5        Instruct the witness not to answer.
       6    please let me know. Okay?                         6        BY MS. GOODMAN:
       7       A. Yes.                                        7           Q. Are you going to follow that
       8       Q. Otherwise I assume you'll understand.       8        instruction, sir?
       9    Okay?                                             9           A. Yes.
      10       A. Yes.                                       10           Q. Okay. When did you first have any
      11       Q. In the normal course of your work, do      11        conversations with anybody at the Department of
      12    you consider the Department of Justice Antitrust 12        Justice Antitrust Division?
      13    Division to be your counsel?                     13           A. As best that I can recall, our first
      14       A. I'm not sure that I'm qualified to         14        interaction would have been in early spring of
      15    answer, within the legal constructs of the U.S. 15         2023 or late winter. I -- I can't recall the
      16    government, who our actual counsel is or is not. 16        specific date.
      17       Q. I'm not asking for you to provide a        17           Q. So sometime between late winter of what
      18    legal opinion. I'm asking for your personal      18        year?
      19    understanding and your considerations, your      19           A. 2023.
      20    personal opinions. So do you consider the        20           Q. Okay. And early spring of 2023?
      21    Department of Justice Antitrust Division to be 21             A. Correct.
      22    your counsel in the normal course of your work? 22            Q. Okay. What was your understanding
      23       A. I don't believe that I have a personal     23        of the reason for your conversations with the
      24    opinion on who our counsel is. I only know       24        Department of Justice Antitrust Division?
      25    what's -- yeah. I -- I don't have an opinion on 25               MR. MCBIRNEY: Objection. Calls for

                                                                                                         3 (Pages 6 - 9)

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                                                       Page 10                                                     Page 12
       1    privileged information. Instruct the witness not      1      Q. I'm sorry. I meant Page 11.
       2    to answer.                                            2      A. Okay.
       3    BY MS. GOODMAN:                                       3      Q. It's line entry 23 on Page 11.
       4       Q. Are you following that instruction?             4      A. Okay.
       5       A. Yes.                                            5      Q. So one, two, three, four, five columns
       6       Q. Has the Department of Justice ever              6   over, you're listed in the To column. Do you see
       7    requested information about digital advertising       7   that?
       8    purchases by the United States Army?                  8      A. I do.
       9          MR. MCBIRNEY: Objection. Calls for              9      Q. And do you see the date in the few-more
      10    privileged information. Instruct the witness not     10   columns over of January 5th, 2023?
      11    to answer.                                           11      A. Okay.
      12    BY MS. GOODMAN:                                      12      Q. Does that refresh your recollection of
      13       Q. Are you following that instruction?            13   the time period where you first had conversations
      14       A. Yes.                                           14   with the Department of Justice Antitrust
      15       Q. Do you -- in the course of your work,          15   Division?
      16    do you routine -- do you field requests for          16      A. Can you help me understand what it is
      17    information from the Department of Justice on        17   I'm actually looking at here?
      18    an ordinary basis?                                   18      Q. Yeah. So this is what's called a
      19       A. I do not.                                      19   privilege log.
      20       Q. Are you aware of anybody else within           20      A. I'm not familiar with what one of those
      21    the AEMO who re -- regularly fields requests for     21   are.
      22    information from the Department of Justice?          22      Q. Okay. A privilege log is a
      23       A. I'm not personally aware of anything           23   document that parties are required to provide
      24    like that.                                           24   to the opposing side when they're asserting
      25          MS. GOODMAN: I'm marking Exhibit 61, a         25   attorney-client or attorney work product or other
                                                       Page 11                                                     Page 13
       1    privilege log dated June 26th, 2023, provided by 1        privilege over communications --
       2    the United States in this litigation. I'm        2           A. Okay.
       3    handing it to the witness.                       3           Q. -- that they are not providing to
       4          (Exhibit No. 61, a privilege log dated     4        the other side in litigation. So that's what a
       5    June 26th, 2023, provided by the United States 5          privilege log is. And so by virtue of this
       6    DOJ, was introduced.)                            6        entry, on Line 23 the United States is asserting
       7    BY MS. GOODMAN:                                  7        a privilege, as described in the last column, --
       8       Q. Now, Colonel Horning, this is not a        8           A. Okay.
       9    document I would normally show a percipient      9           Q. -- over your communication with
      10    witness, but I'm essentially hamstrung and must 10        Mr. Wessels and others --
      11    do so here today for reasons that don't pertain 11           A. Okay.
      12    to you, per se. But I would like you to turn to 12           Q. -- listed on this page.
      13    Page 11 of this document.                       13           A. Okay.
      14          Let me know when you're there.            14           Q. Do you understand now?
      15       A. Okay. I am on Page 11.                    15              MR. MCBIRNEY: Objection. Assumes facts
      16       Q. Okay. And if you look back at Page 1, 16            not in evidence. Form of the question.
      17    actually, you see there is a heading at the top 17        BY MS. GOODMAN:
      18    that indicate what each of the columns are.     18           Q. Do you understand -- do you have an
      19       A. Okay.                                     19        appropriate understanding now of what a privilege
      20       Q. Okay. So you see that in the, one, two, 20          log is?
      21    three, four, five -- fifth column over on Page  21           A. I do understand what this document is
      22    23, which is the To column, your name is        22        now.
      23    listed --                                       23           Q. Okay. So having now looked at this
      24       A. On? I'm sorry. Could you say what page 24           document and understanding what it is, does it
      25    again? I thought you said Page 23.              25        refresh your memory at all that -- as to the

                                                                                                     4 (Pages 10 - 13)

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                                                     Page 14                                                     Page 16
       1   timing of your conversations with the Antitrust      1      Q. What was your understanding of the
       2   Division?                                            2   purpose of the interview?
       3          MR. MCBIRNEY: Objection; foundation,          3         MR. MCBIRNEY: Objection. Calls for
       4   and to form.                                         4   privileged information. Instruct the witness not
       5          THE WITNESS: It does not refresh my           5   to answer.
       6   recollection, but I have no reason to believe        6   BY MS. GOODMAN:
       7   this is not true.                                    7      Q. Are you following that instruction?
       8   BY MS. GOODMAN:                                      8      A. Yes.
       9      Q. Okay. And you see in the column next to        9      Q. What facts -- strike that.
      10   the date, which is the subject -- if you look       10         At the time reflected here on this
      11   back at Page 1, you can see that that is the        11   log, --
      12   subject column.                                     12      A. Mm-hmm.
      13      A. Yes.                                          13      Q. -- January 5th, 2023, were you aware of
      14      Q. Okay. Can you read the subject to me          14   any anticompetitive conduct on the part of Google
      15   here?                                               15   affecting the Army's advertising --
      16      A. The subject on Item 23 of the privilege       16         MR. MCBIRNEY: Objection.
      17   log says, brackets, "external DOJ-Army interview    17   BY MS. GOODMAN:
      18   on Google-Meta advertising products used by DOD."   18      Q. -- practices?
      19      Q. Okay. Do you recall who was interviewed       19         MR. MCBIRNEY: Objection. Calls for a
      20   -- who at the Army was interviewed on Google-Meta   20   legal conclusion.
      21   advertising products used by DOD on or around       21   BY MS. GOODMAN:
      22   this date of January 5th, 2023?                     22      Q. You may answer.
      23          MR. MCBIRNEY: You can answer that yes        23      A. I'm not sure that I have -- am
      24   or no.                                              24   qualified to know or would have been made
      25          THE WITNESS: I do not recall.                25   available any infor -- or would have had any
                                                     Page 15                                                     Page 17
       1    BY MS. GOODMAN:                                 1       information available to me on that topic.
       2       Q. Okay. Do you recall yourself being        2          Q. Around this time of January 5th, 2023,
       3    interviewed on this topic?                      3       were you aware of any conduct on the part of
       4       A. I recall being interviewed, but I do not  4       Google that was causing the Army to pay prices
       5    recall that this was the date for it.           5       for advertising that were too high?
       6       Q. Okay. Do you recall who interviewed       6          A. I had not been made aware of anything
       7    you?                                            7       like that at the time frame that you're asking.
       8       A. I only recall -- I didn't -- there was    8          Q. Okay. How about prior to the time frame
       9    likely more than one person. I only recall one  9       that I'm asking?
      10    by name.                                       10          A. Not that I can recall, no.
      11       Q. Who do you recall by name?               11          Q. Okay. What's your understanding of the
      12       A. Mr. Chase Pritchett.                     12       word anticompetitive?
      13       Q. Okay. How long did the interview last? 13                MR. MCBIRNEY: Objection. Calls for
      14       A. I can't be certain. I think it was,      14       legal conclusion, and foundation.
      15    likely, 60 to 90 minutes, perhaps.             15              THE WITNESS: I only know the common
      16       Q. And this is a yes or no question: Did    16       language terminology. I don't understand the
      17    the United States Antitrust Division lawyers   17       actual legal definitions or implications.
      18    present explain to you the purpose of the      18       Anticompetitive: Not competitive.
      19    interview?                                     19       BY MS. GOODMAN:
      20          MR. MCBIRNEY: Objection. Calls for 20                Q. So what is your common language
      21    privileged communication. Instruct the witness 21       understanding of the word anticompetitive?
      22    not to answer.                                 22          A. I understand it in the context of
      23    BY MS. GOODMAN:                                23       business practices meaning not adhering to a
      24       Q. Are you following that instruction?      24       competitive, fair practice.
      25       A. Yes.                                     25          Q. Okay. So using your definition of

                                                                                                  5 (Pages 14 - 17)

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                                                        Page 18                                                     Page 20
       1    anticompetitive, which is in the context of            1         MS. GOODMAN: Confidential information?
       2    business practicing -- practices meaning "not          2         MR. MCBIRNEY: I'm sorry. Privileged
       3    adhering to a competitive, fair practice," at          3   information.
       4    this time, January 5th of 2023, were you aware         4         MS. GOODMAN: Thank you.
       5    of any anticompetitive practices on the part of        5         THE WITNESS: I have no personal opinion
       6    Google affecting the Army's advertising?               6   about attending a meeting. As a soldier, I
       7           MR. MCBIRNEY: Object to the form of the         7   received an order. I do what I'm told.
       8    question.                                              8   BY MS. GOODMAN:
       9           THE WITNESS: I was not aware.                   9      Q. Okay. From whom did you receive an
      10    BY MS. GOODMAN:                                       10   order, if anyone?
      11        Q. At the time of this discussion with the        11      A. From AEMO leadership.
      12    DOJ, what was your understanding, if any, as to       12      Q. Who in AEMO leadership?
      13    the possibility of litigation?                        13      A. As best as I re -- can recall, the AEMO
      14           MR. MCBIRNEY: Objection. Calls for             14   chief of staff.
      15    privileged information. You can answer that           15      Q. Who's that?
      16    question if you can answer it without divulging       16      A. Colonel Matt Weinrich.
      17    any privileged information. If you cannot, then       17      Q. Why did Mr. Weinrich -- I'm sorry,
      18    I'll instruct you not to answer.                      18   Colonel Weinrich order you to participate in this
      19           THE WITNESS: Can you repeat the                19   meeting?
      20    question?                                             20         MR. MCBIRNEY: Objection. Calls for
      21    BY MS. GOODMAN:                                       21   speculation.
      22        Q. At the time of the discussion with DOJ         22         THE WITNESS: Yeah. I -- I can't answer
      23    on or around January 5th, 2023, what was your         23   as to why he chose me.
      24    understanding, if any, as to the possibility of       24   BY MS. GOODMAN:
      25    litigation?                                           25      Q. Okay. Did he explain to you why he
                                                        Page 19                                                     Page 21
       1           MR. MCBIRNEY: Same instruction. If              1   chose you?
       2    you can answer that without disclosing privileged      2      A. No.
       3    information, you may. Otherwise, I instruct you        3      Q. When did he order you to -- to
       4    not to answer.                                         4   participate in these discussions?
       5           THE WITNESS: None.                              5      A. I can't recall a -- a specific date. As
       6    BY MS. GOODMAN:                                        6   best as I can recall, it was via an email saying
       7       Q. Around the time of this meeting                  7   that there was going to be individuals who needed
       8    -- strike that.                                        8   to ask questions and I should make myself
       9           Around the time of these communications         9   available, but I don't remember when.
      10    with the Department of Justice about Google-Meta      10      Q. Okay. Anything else you remember about
      11    advertising products used by DOD, what were your      11   that email and what it said?
      12    personal views on having to participate in those      12      A. No, I don't.
      13    discussions?                                          13      Q. Did you have any discussions outside of
      14           MR. MCBIRNEY: Objection; vague.                14   email with Colonel Weinrich about this request?
      15           THE WITNESS: Can you clarify the               15      A. No.
      16    question to the extent what was my personal view      16      Q. And setting aside the fact that you
      17    of being involved in a meeting?                       17   received an order to participate in discussions
      18    BY MS. GOODMAN:                                       18   with the Department of Justice on this topic,
      19       Q. Yes. What was your personal view of             19   is it your testimony you had no personal view
      20    being involved in a meeting or discussions with       20   whatsoever as to your participation in such
      21    the Antitrust Division about Google advertising       21   meetings?
      22    -- Meta advertising products used by DOD?             22          MR. MCBIRNEY: Object to the form and
      23           MR. MCBIRNEY: Same objection. And              23   asked and answered.
      24    caution the witness not to divulge confidential       24          THE WITNESS: Yeah. I have no personal
      25    information in your answer.                           25   opinion on -- on attending the meeting.

                                                                                                      6 (Pages 18 - 21)

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                                                         Page 30                                                    Page 32
       1   ads. And I -- I certainly -- I can't recall a            1         MR. MCBIRNEY: Again, I'm going to
       2   specific instance that would answer your question        2   instruct the witness if he can answer that
       3   without it being a little more specific.                 3   without disclosing privileged information, you
       4   BY MS. GOODMAN:                                          4   may do so. Otherwise, I would instruct you not
       5       Q. Okay. Have you asked anybody at the               5   to answer.
       6   advertising agency DDB to give you volume of ads         6         THE WITNESS: Can you repeat the
       7   purchased, cost, cost of such ads, dates of such         7   question?
       8   purchases, vendors, whether it be Google or              8   BY MS. GOODMAN:
       9   some other vendor through which the ads were             9      Q. Has anybody at DDB provided you
      10   purchased, as to the Army's -- and I'll narrow          10   personally with any information about the Army's
      11   it further -- digital advertising purchases?            11   digital advertising purchases of the kind that we
      12          MR. MCBIRNEY: Again, I'm going to                12   just described, such as dates of purchase, cost,
      13   instruct the witness if you're able to answer           13   vendor?
      14   that question without disclosing privileged             14         MR. MCBIRNEY: Same instruction.
      15   communications from counsel, you may do so. If          15         THE WITNESS: Not that I can recall.
      16   you are not, then I instruct you not to answer.         16   BY MS. GOODMAN:
      17          THE WITNESS: Okay. On the advice of              17      Q. Okay. To your knowledge, has anybody at
      18   counsel, I'm not going to answer that question.         18   DDB provided anybody else, other than yourself at
      19   BY MS. GOODMAN:                                         19   AEMO, with information about the Army's digital
      20       Q. Okay. To your knowledge -- has anybody           20   advertising purchases of the kind that we just
      21   at AEMO, so not yourself, but anybody else with         21   described, such as dates of purchase, cost or
      22   whom you work or know, to your knowledge has            22   vendor?
      23   anybody else at AEMO asked the advertising agency       23         MR. MCBIRNEY: Object to the form of the
      24   DDB to give you -- to give AEMO volumes of ad           24   question. Calls for speculation. And instruct
      25   purchased, cost, dates, vendors or other                25   the witness that if you can answer the question
                                                         Page 31                                                    Page 33
       1    information in that nature regarding the Army's         1   without disclosing privileged information, you
       2    digital advertising purchases?                          2   may do so. If not, I would instruct you not to
       3          MR. MCBIRNEY: I object to the form of             3   answer.
       4    the question and instruct the witness that if           4         THE WITNESS: I have no personal
       5    you can answer the question without disclosing          5   knowledge of that occurring.
       6    privileged information, you may do so. If you           6   BY MS. GOODMAN:
       7    cannot, then I instruct you not to answer.              7      Q. Okay. Do you have knowledge other than
       8          THE WITNESS: To the best of my                    8   personal knowledge of that occurring?
       9    knowledge, yes.                                         9         MR. MCBIRNEY: Objection; foundation.
      10    BY MS. GOODMAN:                                        10   Calls for speculation. And same instruction.
      11       Q. Okay. Who at AEMO, to your knowledge,            11         THE WITNESS: I don't know what
      12    has asked DDB for such information?                    12   "knowledge other than personal" means.
      13          MR. MCBIRNEY: Again, I'm going to                13   BY MS. GOODMAN:
      14    instruct the witness if you can answer that            14      Q. Okay. At the time that you first became
      15    question without disclosing privileged                 15   involved in discussions with the Department of
      16    information, you may do so. Otherwise,                 16   Justice in the late winter 2023 time period, did
      17    instruct the witness not to answer.                    17   you consider their inquiries to be a routine
      18          THE WITNESS: Okay. On the advice of              18   request for information?
      19    counsel, I'm not going to answer that question.        19         MR. MCBIRNEY: Objection; vague.
      20    BY MS. GOODMAN:                                        20         THE WITNESS: At the time I first became
      21       Q. To your knowledge -- well, strike that.          21   aware, I had no indication the purpose at all.
      22          Has anybody at DDB provided you,                 22   BY MS. GOODMAN:
      23    personally, with information about the Army's          23      Q. Okay. Did you have a -- did you have
      24    digital advertising purchases of the kind that we      24   a view -- so setting aside the Department's
      25    just described, dates, cost, vendor?                   25   purpose, which I'm not asking about, I'm asking

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                                                        Page 34                                                    Page 36
       1    about your personal reactions to receiving             1      Q. So, Colonel Horning, I'll ask you again
       2    an inquiry -- inquiry from the Department of           2   so that I can get an answer or your -- well, get
       3    Justice, how did you view it? As a routine             3   a clean record, I should say.
       4    request for information? As fact-gathering?            4         Has anybody at the Department of
       5    What was your personal view of the nature of the       5   Justice asked you to get any information from
       6    inquiry?                                               6   your advertising agency DDB?
       7          MR. MCBIRNEY: Object to the form of the          7         MR. MCBIRNEY: Objection. Calls for
       8    question and vague.                                    8   privileged communication. Instruct the witness
       9          THE WITNESS: I viewed it as a routine            9   not to answer.
      10    request for information.                              10   BY MS. GOODMAN:
      11    BY MS. GOODMAN:                                       11      Q. Are you following that instruction?
      12       Q. Okay. Has the Department of Justice             12      A. Yes.
      13    asked you to get information from the advertising     13      Q. Okay. Has anybody at the Department of
      14    agency DDB?                                           14   Justice asked you to have any conversations with
      15          MR. MCBIRNEY: Obj --                            15   any person from your advertising agency DDB?
      16    BY MS. GOODMAN:                                       16         MR. MCBIRNEY: Objection. Calls for
      17       Q. Yes or no.                                      17   privileged information. Instruct the witness not
      18          MR. MCBIRNEY: Objection. Calls for              18   to answer.
      19    privileged information. I instruct the witness        19   BY MS. GOODMAN:
      20    not to answer.                                        20      Q. Are you following that instruction?
      21          THE WITNESS: I'm not going to answer            21      A. Yes.
      22    the question on advice of question.                   22      Q. Okay. To your knowledge, has anybody
      23          MS. GOODMAN: That question is                   23   at the Department of Justice asked any other
      24    completely proper because it goes to your             24   employee of AEMO to obtain information from the
      25    assertion to which you bear a burden of proof and     25   advertising agency DDB?
                                                        Page 35                                                    Page 37
       1    persuasion as to your claim of privilege.              1         MR. MCBIRNEY: Objection. Calls for
       2          MR. MCBIRNEY: You are asking                     2   privileged information. Instruct the witness not
       3    the witness to disclose communications of a            3   to answer.
       4    particularized nature from counsel, which is           4   BY MS. GOODMAN:
       5    clearly work product. So that instruction is           5      Q. Are you following that instruction?
       6    entirely proper, and I'm instructing the witness       6      A. Yes.
       7    not to answer.                                         7      Q. To your knowledge, has anybody at the
       8    BY MS. GOODMAN:                                        8   Department of Justice asked any other employee of
       9       Q. Okay. Has the Department of Justice --           9   AEMO to have any conversations with any person
      10    anybody at the Department of Justice asked you        10   from the advertising agency DDB?
      11    to participate in any conversations with your         11         MR. MCBIRNEY: Objection. Calls for
      12    advertising agency?                                   12   privileged information, and instruct the witness
      13          MR. MCBIRNEY: Same objection. Instruct          13   not to answer.
      14    the witness not to answer.                            14   BY MS. GOODMAN:
      15          You are asking the witness for                  15      Q. Are you following that instruction?
      16    particular communications from counsel.               16      A. Yes.
      17          MS. GOODMAN: No. They're very                   17      Q. Are you aware of any investigation by
      18    generalized communications. We've talked about        18   the Department of Justice into Google?
      19    the term "information" being very generalized.        19         MR. MCBIRNEY: You can answer that yes
      20          MR. MCBIRNEY: Even if they're                   20   or no.
      21    generalized, they're communications from counsel.     21         THE WITNESS: Yes.
      22          MS. GOODMAN: Of the kind that appear on         22   BY MS. GOODMAN:
      23    privilege log. This is exactly what you have to       23      Q. When did you first become aware of that
      24    put on a privilege log.                               24   investigation?
      25    BY MS. GOODMAN:                                       25         MR. MCBIRNEY: I'm going to instruct the

                                                                                                   10 (Pages 34 - 37)

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                                                        Page 38                                                   Page 40
        1   witness that if you can answer that question           1      A. Yes.
        2   without disclosing privileged information you may      2      Q. When did you receive a litigation hold,
        3   do so. If you cannot, then I instruct you not to       3   if any?
        4   answer.                                                4         MR. MCBIRNEY: Objection. Assumes
        5         THE WITNESS: I'm not going to answer             5   facts not in evidence and calls for privileged
        6   that question on the advice of counsel.                6   information. Instruct the witness not to answer.
        7   BY MS. GOODMAN:                                        7   BY MS. GOODMAN:
        8      Q. Okay. Prior to late winter 2023, as              8      Q. Are you following that instruction?
        9   we've discussed, had anybody from anyone within        9      A. Yes.
       10   the government reached out to you inquiring about     10      Q. Who sent you a litigation hold, if any?
       11   the Army's digital advertising purchases?             11         MR. MCBIRNEY: Same objections.
       12         MR. MCBIRNEY: Objection; vague and              12   Instruct the witness not to answer.
       13   instruct the witness that if you can answer           13   BY MS. GOODMAN:
       14   that question without disclosing privileged           14      Q. Are you following that instruction?
       15   information, you may do so. If you cannot,            15      A. Yes.
       16   then I instruct the witness not to answer.            16      Q. When did you first become aware that
       17         THE WITNESS: I don't recall any                 17   your participation in this lawsuit would be re --
       18   communication previous to what we already             18   necessary?
       19   discussed.                                            19         MR. MCBIRNEY: Objection. Assumes facts
       20   BY MS. GOODMAN:                                       20   not in evidence. Vague.
       21      Q. Okay. And how about prior to late               21         THE WITNESS: I first became aware that
       22   winter 2023, did you have any outreach from           22   I would be a participant within the last two
       23   anybody within the United States government about     23   weeks.
       24   any anticompetitive conduct on the part of Google     24   BY MS. GOODMAN:
       25   affecting the United States Army? And when I use      25      Q. Prior to the last two weeks, have you
                                                        Page 39                                                   Page 41
        1   the word anticompetitive, I'm using your               1   assisted anybody in the Department of Justice
        2   definition?                                            2   with gathering information related to this
        3         MR. MCBIRNEY: Objection; vague.                  3   litigation?
        4   Instruct the witness that if you can answer            4          MR. MCBIRNEY: Objection; vague and
        5   that question without disclosing privileged            5   calls for privileged information. Instruct the
        6   communication you may do so. If not, I instruct        6   witness not to answer.
        7   the witness not to answer.                             7   BY MS. GOODMAN:
        8         THE WITNESS: I cannot recall a                   8       Q. Have you gathered any information in
        9   time prior to then when anyone from the U.S.           9   order to provide discovery to Google in this
       10   government reached out to me on any topic related     10   litigation?
       11   to any practice of any vendor or company involved     11          MR. MCBIRNEY: You can answer that yes
       12   in advertising.                                       12   or no.
       13   BY MS. GOODMAN:                                       13          THE WITNESS: No.
       14      Q. And that includes Google?                       14   BY MS. GOODMAN:
       15         MR. MCBIRNEY: Objection; vague.                 15       Q. Are you aware one way or another if your
       16         THE WITNESS: My recollection, as                16   emails have been searched or produced to Google?
       17   previously stated, would include Google.              17          MR. MCBIRNEY: You can answer.
       18   BY MS. GOODMAN:                                       18          THE WITNESS: I'm not aware if it has or
       19      Q. Okay. Have you received a litigation            19   has not occurred.
       20   hold?                                                 20   BY MS. GOODMAN:
       21         MR. MCBIRNEY: Objection. Calls for              21       Q. Okay. Do you recall providing any
       22   privileged information. Instruct the witness not      22   information for the purpose of answering written
       23   to answer.                                            23   questions called interrogatories in this
       24   BY MS. GOODMAN:                                       24   litigation?
       25      Q. Are you following that instruction?             25          MR. MCBIRNEY: Ob -- you can answer that

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                                                       Page 186                                                    Page 188
        1   uses more than one provider of display                 1   distribution of our message, I don't see how
        2   advertising?                                           2   Google has a role in protecting, considering it's
        3      A. I do not know who or how many are even           3   available to so many. I wouldn't think they have
        4   available. I don't know the answer to that.            4   a role in protecting anybody's. That's our
        5      Q. Okay. Let's go to Estimated Potential            5   responsibility to look at and assess where any
        6   for Efficient ROI. Have you formed an assessment       6   distribution platform, channel, site that we may
        7   of Google's potential for efficient ROI?               7   be -- any -- any of those things, any of these
        8         MR. MCBIRNEY: Objection; vague.                  8   actual media networks or properties are a fit for
        9         THE WITNESS: Again, any assessment               9   brand safety.
       10   would be not of Google as a whole, but of             10   BY MS. GOODMAN:
       11   depending on the channel product itself.              11      Q. I see.
       12   BY MS. GOODMAN:                                       12      A. So I don't think Google is a yes or a no
       13      Q. Okay. So let's talk first about Search.         13   specifically.
       14   What is your view on the potential for efficient      14      Q. Do you view Google as a risky
       15   ROI with respect to Search?                           15   distribution channel for the brand safety of the
       16      A. The information that I've seen                  16   Army?
       17   throughout our quarterly MMMs has indicated or        17         MR. MCBIRNEY: Objection; vague and
       18   given me the impression that Search has been an       18   foundation.
       19   efficient channel for us.                             19         THE WITNESS: During the time that I've
       20      Q. Same question as to YouTube.                    20   been at AEMO, I'm certainly not aware of anything
       21      A. Generally speaking, as I can best recall        21   that would give me pause or concern with respect
       22   from the MMM reports, YouTube tends to perform        22   to working with Google being a risk to brand
       23   fairly well comparatively on an efficiency            23   safety.
       24   standpoint relative to the various channels in        24   BY MS. GOODMAN:
       25   the marketing mix.                                    25      Q. And then the last criteria, flexible
                                                       Page 187                                                    Page 189
        1      Q. And how about with respect to Discovery?         1   cancellation terms adherence to industry-standard
        2      A. I don't know the answer to that one.             2   contractual out clauses, do you have any ability
        3      Q. Okay. And how about with respect to              3   to assess Google's flexible cancellation terms,
        4   display?                                               4   one way or another?
        5      A. I don't know which all partners may or           5      A. I do not.
        6   may not be involved in display. I know that our        6      Q. Okay. Do you recall attending a Google
        7   MMM results have shown that display, in general,       7   Marketing Live event?
        8   has not performed at the same efficient rate as        8          MR. MCBIRNEY: Objection; vague.
        9   other options available to us.                         9          THE WITNESS: Can you be specific about
       10      Q. Okay. What is your assessment of                10   the timing?
       11   Google's ability to maintain expected levels of       11   BY MS. GOODMAN:
       12   brand safety?                                         12      Q. Sure can. Give me a sec.
       13         MR. MCBIRNEY: Objection; vague and              13          Summer of 2022.
       14   foundation.                                           14      A. Is there a document that I can review?
       15         THE WITNESS: I think there's a measure          15      Q. I do not have it, no. I'm sorry.
       16   of risk assessment involved in that that we have      16      A. I have recollection of attending events
       17   to constantly assess and reassess in light of         17   with Google, but I can't attest to the date,
       18   current market conditions and activities or           18   specifically.
       19   events in the information sphere and that may         19      Q. Okay. What -- how many events do you
       20   change from time period to time period.               20   recall attending with Google?
       21   BY MS. GOODMAN:                                       21      A. Two.
       22      Q. And does Google, in your view, help             22      Q. What were those two events that you are
       23   protect the brand safety of the Army?                 23   recalling?
       24         MR. MCBIRNEY: Objection; foundation.            24      A. One was in Chicago at the local office
       25         THE WITNESS: As a platform for the              25   -- I assume to be the local office of -- of

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                                                        Page 190                                                Page 192
        1   Google. And the other was in California at the          1      A. I mean, I generally recall the room and
        2   headquarters.                                           2   that we had slides and that there were a number
        3      Q. Okay. Starting with the first event you           3   of presenters on a number of topics. I don't
        4   recall at the local office of Google, what was          4   recall what all the topics were specifically,
        5   that event? What -- what took place at that             5   but --
        6   event?                                                  6      Q. Do you recall any of the topics?
        7      A. That was an educational event hosted              7      A. No, I don't.
        8   by Google to inform Army marketers on Google            8      Q. Okay. Let's turn to the event at the
        9   products, how other customers have been able to         9   California -- in California at HQ -- was that at
       10   be successful or not, TTPs or what we say in the       10   Google's headquarters?
       11   Army, tactics, technique, procedures, meaning          11      A. It was.
       12   just generally how you go about things, so to          12      Q. Okay. And did other marketing
       13   share with us information about how we might           13   professionals from the other branches of the
       14   either perform better or continue to perform           14   military attend that, to your recollection?
       15   well or use products effectively.                      15      A. Yes.
       16      Q. Did you find that event informative?             16      Q. Okay. What -- what was the purpose of
       17      A. Yes.                                             17   that event?
       18      Q. Did you find it useful?                          18      A. I was attending on behalf of
       19      A. I found the discussion stimulating.              19   Major General Fink. My understanding of the
       20   I can't recall me specifically going back and          20   purpose, it was similar to the earlier meeting
       21   -- and then using something from there in the          21   in Chicago, but a year later and, more broadly,
       22   course of my routine duties.                           22   participation from the other services, whereas
       23      Q. Did that educational event provide any           23   the first was Army only. And this had other
       24   value, from your point of view, to the Army?           24   services, all, in my perception, with the same
       25      A. I would say in that knowledge and                25   intent to educate the audience on certain aspects
                                                        Page 191                                                Page 193
        1   education is always valuable, I certainly               1   of Google's product line and give examples of
        2   couldn't ascribe a particular quantity or figure        2   how some of their customers have used them
        3   or dollar figure of value.                              3   effectively.
        4      Q. Sure. But the knowledge and education             4       Q. Did you find that event to be
        5   that Google provided you at that event, did you         5   informative?
        6   consider that valuable?                                 6       A. I did. And I found it useful because
        7          MR. MCBIRNEY: Objection. Asked and               7   it's one of the first events I was at where the
        8   answered.                                               8   other services were also there, and so it also
        9          THE WITNESS: At the time, I felt                 9   enabled some cross-service discussion on
       10   the information and the conversations that it          10   challenges, successes.
       11   generated were helpful to the marketing team.          11       Q. Did you find that event to provide value
       12   BY MS. GOODMAN:                                        12   to the Army?
       13      Q. Do you know who from Google was at that          13       A. It did in that I actually was able to
       14   event? Do you recall?                                  14   provide some -- or -- or put some face to names
       15      A. There were a number of presenters, and,          15   of my counterparts in the Air Force and Navy,
       16   frankly, I don't remember everyone's name.             16   which has facilitated some dialogue post that
       17      Q. Do you remember anybody's name?                  17   meeting.
       18      A. No.                                              18       Q. What dialogue has that facilitated?
       19      Q. Okay.                                            19   What dialogue has that meeting facilitated with
       20      A. I know that there was an individual who          20   your counterparts in the other branches of the
       21   had government in their portfolio. But as far          21   armed services?
       22   as all their names, I -- unfortunately, I don't        22       A. I'll occasionally reach out and ask
       23   recall.                                                23   something that they may be doing or see if there
       24      Q. Is there anything else that you, sitting         24   might be an opportunity for us to do something
       25   here today, recall about that event?                   25   together, or just ask questions about approaches

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                                                        Page 194                                                     Page 196
        1   they may be taking. It's never anything specific        1   conversation with that individual on that topic
        2   in nature, other than general information-share.        2   was focused around what he and his team were
        3      Q. Do you recall who attended from -- who            3   doing to try to track down what had been
        4   from Google attended the event in California that       4   occurring. It was new, so we didn't know,
        5   you're recalling?                                       5   they didn't know. We just knew something was
        6      A. There were a number of presenters,                6   happening.
        7   and they were from different divisions,                 7          That was the -- that was, essentially,
        8   organizations. I'm not sure how they're --              8   the crux of that discussion.
        9   Google organizations is what we would call them,        9       Q. Okay. The individual that you're
       10   but from different areas of the business who came      10   recalling having this conversation with, did that
       11   and presented on various topics. Some of them          11   person indicate to you that Google would take
       12   were somewhat creative in nature. Some of the          12   steps to address the problem?
       13   topics were more, I don't know, say analytic in        13       A. I don't recall if that was ever said.
       14   nature, I mean, although we weren't talking            14   But I have no reason to believe that -- most
       15   about how to do regression models but some             15   likely, that was probably assumed on my part at
       16   certainly were more focused on the creative            16   the time, that, given a business relationship,
       17   aspect of what you might be showing and others         17   it's generally understood, even though I don't
       18   more about how you might be using tools. I think       18   have access to terms of any kinds of contracts or
       19   -- you know, I don't know for sure -- actually, I      19   not, that good business partners will certainly
       20   know I don't know the names -- yeah -- of who          20   try to do what they can to make good or to figure
       21   presented.                                             21   out what's been going on.
       22      Q. Okay. Do you know an individual at               22       Q. And do you have any -- what -- what
       23   Google named Sean Harrison?                            23   -- what happened? What was the outcome of the
       24      A. That name is familiar to me. He might            24   -- of the effort to -- to get to the bottom of
       25   have been one of the individuals at one of the         25   this false hit issue?
                                                        Page 195                                                     Page 197
        1   meetings, but I -- I don't know him and have            1      A. Yeah. I can't state with certainty,
        2   never had an interaction with him outside of --         2   only as I recall the information now. Because
        3   if that's the same person, outside of one of            3   once it was also being handled by the -- the data
        4   those meetings.                                         4   team, as well, I didn't look too much more deeply
        5      Q. Okay. So sitting here today, can you              5   into a hundred percent technical answer of here's
        6   recall ever having any conversation with Sean           6   what happened. But, as I recall, there was some
        7   Harrison about -- about -- well, about anything?        7   kind of a -- I don't know if the right term is
        8      A. Well, given that I'm not a hundred                8   a bot farm, or at least some malicious intent
        9   percent sure if that's the name of the person who       9   emanating, at least as was trackable, out of
       10   I think it is, I can't say with certainty.             10   an Asian country that I believe to be the
       11      Q. Okay. Are you recalling a conversation           11   Philippines, if I recall correctly, but I
       12   with some individual at Google, but you just           12   could be mistaken. And somehow it was getting in
       13   don't know that person's name?                         13   through a MAC code, which is a Marketing Activity
       14      A. I am.                                            14   Code, that was assigned to Google efforts. And
       15      Q. Okay. What conversation are you                  15   it was generating fake leads, or false -- or just
       16   recalling?                                             16   it was submitting leads with false names and
       17      A. The conversation I'm recalling was on            17   -- and -- and giving us the impression of an
       18   the sidelines of the presentation in California,       18   effectiveness of whichever of the products it
       19   where we were notified of a number of false leads      19   was coming from. I don't recall which one.
       20   that were coming into the Army system through a        20   But -- but, essentially, that was the crux of it;
       21   Google product, in the thousands, which obviously      21   we had some false leads emanating from some
       22   would throw off a lot of our data systems in           22   malicious activity from some third country.
       23   terms of false attribution. And also,                  23      Q. And do you know if Google took any steps
       24   potentially, our concern of being charged for          24   to put a stop to that malicious activity coming
       25   things that weren't really happening. And the          25   from a third country?

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       1    for information relevant to this lawsuit?          1 Jimmy McBirney, Esq.
       2       A. I did not.                                   2 jimmy.mcbirney@usdoj.gov
       3          MS. GOODMAN: I reserve the remainder of      3                  August 21, 2023
       4    my time for this deposition based on the improper  4 RE: United States, Et Al v. Google, LLC
       5    privilege assertions made at the outset of the     5     8/18/2023, John Horning (#6060378)
       6    deposition. So I close the dep -- I'm holding      6     The above-referenced transcript is available for
       7    the deposition open.                               7 review.
       8          MR. MCBIRNEY: Can I get a time check?        8     Within the applicable timeframe, the witness should
       9          THE VIDEOGRAPHER: We are at 5:55             9 read the testimony to verify its accuracy. If there are
      10    minutes.                                          10 any changes, the witness should note those with the
      11          MR. MCBIRNEY: Okay. The government          11 reason, on the attached Errata Sheet.
      12    does not agree with your position that the        12     The witness should sign the Acknowledgment of
      13    deposition should remain open, but we understand  13 Deponent and Errata and return to the deposing attorney.
      14    your position.                                    14 Copies should be sent to all counsel, and to Veritext at
      15          MS. GOODMAN: Okay.                          15 erratas-cs@veritext.com
      16          MR. MCBIRNEY: Off the record.               16
      17          THE VIDEOGRAPHER: Anything else for the 17 Return completed errata within 30 days from
      18    record?                                           18 receipt of testimony.
      19          MS. GOODMAN: Thank you, Colonel.            19 If the witness fails to do so within the time
      20          THE WITNESS: Thank you very much.           20 allotted, the transcript may be used as if signed.
      21          THE VIDEOGRAPHER: This marks the end of 21
      22    the deposition of Colonel John Horning. We're     22            Yours,
      23    going off the record at 1753.                     23            Veritext Legal Solutions
      24          (Deposition concluded -- 5:53 p.m.)         24
      25                                                      25
                                                         Page 247                                                     Page 249
       1            CERTIFICATE                                      1 United States, Et Al v. Google, LLC
       2                                                             2 John Horning (#6060378)
       3         I do hereby certify that I am a Notary              3           ERRATA SHEET
       4    Public in good standing, that the aforesaid              4 PAGE_____ LINE_____ CHANGE________________________
       5    testimony was taken before me, pursuant to               5 __________________________________________________
       6    notice, at the time and place indicated; that            6 REASON____________________________________________
       7    said deponent was by me duly sworn to tell the           7 PAGE_____ LINE_____ CHANGE________________________
       8    truth, the whole truth, and nothing but the              8 __________________________________________________
       9    truth; that the testimony of said deponent was
                                                                     9 REASON____________________________________________
      10    correctly recorded in machine shorthand by me and
                                                                    10 PAGE_____ LINE_____ CHANGE________________________
      11    thereafter transcribed under my supervision with
                                                                    11 __________________________________________________
      12    computer-aided transcription; that the deposition
                                                                    12 REASON____________________________________________
      13    is a true and correct record of the testimony
                                                                    13 PAGE_____ LINE_____ CHANGE________________________
      14    given by the witness; and that I am neither of
                                                                    14 __________________________________________________
      15    counsel nor kin to any party in said action, nor
                                                                    15 REASON____________________________________________
      16    interested in the outcome thereof.
                                                                    16 PAGE_____ LINE_____ CHANGE________________________
      17
      18        WITNESS my hand and official seal this              17 __________________________________________________

      19    21st day of August, 2023.                               18 REASON____________________________________________
      20                                                            19 PAGE_____ LINE_____ CHANGE________________________
      21                                                            20 __________________________________________________
                      <%11516,Signature%>                           21 REASON____________________________________________
      22                Notary Public                               22
      23                                                            23 ________________________________ _______________
      24                                                            24 John Horning                  Date
      25                                                            25

                                                                                                         63 (Pages 246 - 249)

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                                                                     Page 250
        1 United States, Et Al v. Google, LLC
        2 John Horning (#6060378)
        3           ACKNOWLEDGEMENT OF DEPONENT
        4    I, John Horning, do hereby declare that I
        5 have read the foregoing transcript, I have made any
        6 corrections, additions, or changes I deemed necessary as
        7 noted above to be appended hereto, and that the same is
        8 a true, correct and complete transcript of the testimony
        9 given by me.
       10
       11 ______________________________           ________________
       12 John Horning                  Date
       13 *If notary is required
       14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
       15             ______ DAY OF ________________, 20___.
       16
       17
       18             __________________________
       19             NOTARY PUBLIC
       20
       21
       22
       23
       24
       25




                                                                                64 (Page 250)

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                            Veritext Legal Solutions
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                         Federal Rules of Civil Procedure

                                         Rule 30



            (e) Review By the Witness; Changes.

            (1) Review; Statement of Changes. On request by the

            deponent or a party before the deposition is

            completed, the deponent must be allowed 30 days

            after being notified by the officer that the

            transcript or recording is available in which:

            (A) to review the transcript or recording; and

            (B) if there are changes in form or substance, to

            sign a statement listing the changes and the

            reasons for making them.

            (2) Changes Indicated in the Officer's Certificate.

            The officer must note in the certificate prescribed

            by Rule 30(f)(1) whether a review was requested

            and, if so, must attach any changes the deponent

            makes during the 30-day period.




            DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

            ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

            THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

            2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

            OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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                          VERITEXT LEGAL SOLUTIONS

             COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

       Veritext Legal Solutions represents that the

       foregoing transcript is a true, correct and complete

       transcript of the colloquies, questions and answers

       as submitted by the court reporter. Veritext Legal

       Solutions further represents that the attached

       exhibits, if any, are true, correct and complete

       documents as submitted by the court reporter and/or

       attorneys in relation to this deposition and that

       the documents were processed in accordance with

       our litigation support and production standards.


       Veritext Legal Solutions is committed to maintaining

       the confidentiality of client and witness information,

       in accordance with the regulations promulgated under

       the Health Insurance Portability and Accountability

       Act (HIPAA), as amended with respect to protected

       health information and the Gramm-Leach-Bliley Act, as

       amended, with respect to Personally Identifiable

       Information (PII). Physical transcripts and exhibits

       are managed under strict facility and personnel access

       controls. Electronic files of documents are stored

       in encrypted form and are transmitted in an encrypted



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       fashion to authenticated parties who are permitted to

       access the material. Our data is hosted in a Tier 4

       SSAE 16 certified facility.


       Veritext Legal Solutions complies with all federal and

       State regulations with respect to the provision of

       court reporting services, and maintains its neutrality

       and independence regardless of relationship or the

       financial outcome of any litigation. Veritext requires

       adherence to the foregoing professional and ethical

       standards from all of its subcontractors in their

       independent contractor agreements.


       Inquiries about Veritext Legal Solutions'

       confidentiality and security policies and practices

       should be directed to Veritext's Client Services

       Associates indicated on the cover of this document or

       at www.veritext.com.




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